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     CC'^C                                                         FILED IN THE

KENJIM.PRICE #10523
                                                          UNITED STATES DISTRICT COURT
                                                                 DISTRICT OF HAWAII
United States Attorney
District of Hawaii
                                                                  OCT 1 7 2018
                                                         at ^ o'clock and^ min.O M
DARREN W.K. CHING #6903                                       SUE BEITIA, CLERK

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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                   IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,               Mag. No. 18-01161 KSC

                     Plaintiff,          CRIMINAL COMPLAINT;
                                         AFFIDAVIT IN SUPPORT OF
              V.                         CRIMINAL COMPLAINT


 Martin HERNANDEZ-
 VILLALOBOS,
 aka Jose Juan ENCINAS-DIAZ,
 aka Armando HERNANDEZ-
 GONZALEZ,
                     Defendant.




                            CRIMINAL COMPLAINT
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      I, the undersigned complainant, being duly sworn, state the following is true

and correct to the best of my knowledge and belief.

                                     COUNT 1


      On or about October 5, 2018, in the District of Hawaii, the defendant, Martin
HERNANDEZ-VILLALOBOS,an alien, was found in the United States after
having been removed from the United States on or about September 1, 2009, and
not having obtained the express consent of the Attorney General of the United
States or his successor, the Secretary for Homeland Security (Title 6, United States
Code, Sections 202(3),(4), and 557)for re-application by the Defendant for
admission into the United States.


             In violation of Title 8, United States Code, Section 1326(a).

      I further state that I am a Special Agent of the Department of Homeland
Security, Homeland Security Investigations(HSI)and that this Complaint is based
upon the facts set forth in the following affidavit, which is attached hereto and
made part of this Complaint by reference.




                                       Cory B. Hokama, Special Agent
                                       Homeland Security Investigations




Subscribed to and sworn before me on
October 17, 2018, at HongJuIu^I^waii.




RICHARD L. PUi
UNITED STATES^MAG^^^^JU0GE
DISTRICT OF HAV;'M'i'CToF
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      AGENT^S AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


        I, Cory B. Hokama, after being duly sworn, deposes and states as follows:

1.     I am a "law enforcement officer ofthe United States" within the meaning of
Title 18, United States Code, Section 2510(7), who is empowered by law to
conduct investigations, and make arrests.

2.    I am a Special Agent with the Department of Homeland Security,
Immigration and Customs Enforcement(ICE)- Homeland Security Investigations
(HSI), currently assigned to the Special Agent in Charge(SAC),Honolulu Office. I
have been employed as a Special Agent since 2008. I am currently assigned to the
National Security Group which is responsible for investigating vulnerabilities in the
nation's border, infrastructure, and economic and transportation systems. In the
course of my duties, I have investigated, apprehended, and prepared for prosecution
cases against persons who have illegally entered the United States which are
criminal violations set forth in the Immigration and Nationality Act.

3.      The information contained in this affidavit was derived from(1)personal
investigative knowledge;(2)information related to me by other law enforcement
officers associated with this investigation; and(3)from witnesses with personal
knowledge ofthe events they have told me;(4)and from information obtained from
official records and alien file A## ### 563. This affidavit summarizes this
information but does not attempt to provide each and every factual detail discovered
during this investigation. The information set forth herein is to establish that
probable cause exists to arrest Martin HERNANDEZ-VILLALOBOS,aka Jose
Juan ENCINAS DIAZ,aka Armando HERNANDEZ GONZALEZ,(hereinafter
"HERNANDEZ-VILLALOBOS"),for violating of Title 8, United States Code,
Section 1326(a).

4.    HERNANDEZ-VILLALOBOS came to the attention ofImmigration and
Customs Enforcement(ICE), Enforcement Removal Operations(ERO)Honolulu
Officers(ERO)pursuant to his arrest by the Maui Police Department(MFD)in
2017 for driving without a license. On or around June 20, 2017, HERNANDEZ-
VILLALOBOS was arrested by MFD for driving without a license. On August 16,
2017, HERNANDEZ-VILLALOBOS was found guilty and ordered to pay $100
fine.
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5.     On October 5,2018,ERO Honolulu Officers, administratively arrested
HERNANDEZ-VILLALOBOS in Lahaina, Hawaii for being present in the United
States without authorization. Later that day, HERNANDEZ-VILLALOBOS was
transported from Maui to ERO's Office located in Honolulu, where he was
fingerprinted, photographed, and served with a Notice ofIntent/Decision to
Reinstate the Prior Order ofremoval(Form 1-871). HERNANDEZ-VILLALOBOS
was later transported to the Honolulu Federal Detention Center(FDC)after
processing by ERO.

6.    On October 9,2018,ERO brought HERNANDEZ-VILLALOBOS from the
FDC to their office where Homeland Security Investigations(HSI)Honolulu
Special Agents met with HERNANDEZ-VILLALOBOS and asked him if he was
willing to provide a Sworn Statement(Form 1-215). HERNANDEZ-
VILLALOBOS agreed. The agents asked HERNANDEZ-VILLALOBOS in what
language he wanted the interview. HERNANDEZ-VILLALOBOS stated that he
preferred Spanish. Before the agents asked HERNANDEZ-VILLALOBOS any
questions, they read HERNANDEZ-VILLALOBOS his Miranda rights with the
assistance of a Spanish-speaking interpreter. HERNANDEZ-VILLALOBOS
waived his rights by putting initials next to each sentence and agreed to answer
questions posed by the agents without an attorney present. The following
information is a portion ofthe video-recorded statement given by HERNANDEZ-
VILLALOBOS:


      Q.Do you understand your rights?
      A. Yes.


      Q. Are you willing to answer my questions at this time without a lawyer
      present?
      A. Yes.


      Q.Do you swear that all the statements you are about to make will be the
      truth, the whole truth and nothing but the truth, so help you God?
      A. Yes.


      Q. What is your true and correct name?
      A. Martin HERNANDEZ-VILLALOBOS.
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   Q. Have you ever used any other names?
   A "Mrk
   A. No


   Q. Of what country are you a citizen and are you a citizen of any other
   country?
   A.I am only a citizen of Mexico.

   Q. What is your date and place of birth?
   A. August 15, 1965, Jalisco, Mexico.

   Q. What is your father's name and citizenship?
   A. Jesus HERNANDEZ,Mexico.

   Q. What is your mother's name and citizenship?
   A. Trinidad VILLALOBOS,Mexico.

   Q.Do your parents claim citizenship to any other country?
   A. No.


   Q.Is this your Mexican passport? And is the information in this passport true

   A. Yes,that is my passport with my information. I got passport from the
   Consular in San Francisco and then came to Maui.

   Q.Do you recall that in or around August 31,2009, you were
   administratively arrested and served with a Notice and Order of Expedited
   Removal by GBP Officers at or near San Ysidro Port ofEntry?(Shown
   photocopy ofForm 1-860)
   A. Yes.


   Q.Do you recall that on or about September 1,2009, you left the United
   States and crossed the border back into Mexico at or near San Ysidro,
   Califomia?(Shown photo copy ofForm 1-296)
   A. Yes. That is my photo, thumbprint, and signature.

   Q.Do you recall that you were not supposed to return to the United States
   without authorization from Homeland Security for a period of 5 years?
   (Shown photo copy of Form 1-296 which includes a five year prohibition
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   from entering the United States)
   A. No,I did not know that, no one told me. They just gave me a bag and I
   returned to Mexico.


   Q. When did you last enter the United States?
   A.I last entered in 2010 by California.

   Q. How and where did you enter the United States at that time?
   A.I came across the border on foot with some friends. I came, and I stayed
   in California for 2-3 days before coming to Hawaii.

   Q. Aside from this last entry, how many times have you entered the United
   States without authorization?
   A.I entered one other time before this last time.


   Q. Have you ever worked for Hawaii Care and Cleaning Inc. located in
   Lahaina, Hawaii?
   A. Yes,for a short period.

   Q. Do you recognize this Employee Eligibility Form 1-9? Is this your
   signature and date April 5, 2010?(Shown Form 1-9 from Hawaii Care and
   Cleaning Inc.)
   A. Yes,that is my signature.

   Q. Did you fill out this form?(Shown Form 1-9 from Hawaii Care and
   Cleaning Inc.)
   A. Yes,I filled out the top portion ofthe form.

   Q. Did you present a Social Security Card with the number ###-##-1643?
   And does this number belong to you? If not, where did you get this number?
   (Shown Form 1-9 from Hawaii Care and Cleaning Inc.)
   A.I do not remember the card or that number.


   Q. Did you also present a Lawful Permanent Resident Card with the number
   A## ### 196? And does this number belong to you? If not, where did you
   get this number?(Shown Form 1-9 from Hawaii Care and Cleaning Inc.)
   A.I do not remember the card or that number.
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      Q. Have you ever applied to the Attorney General ofthe United States or the
      Secretary of Homeland Security for permission to re-enter the United States
      after you were deported, excluded, or removed from the United States?
      A. No.


      Q. Have you ever applied for or have any current petitions or applications
      with the United States Citizenship and Immigration Services?
      A. No.


      Q. Are you aware of any petitions or applications with the United States
      Citizenship and Immigration Services on your behalf?
      A. No.


     Q. Do you understand that if you have been previously ordered deported, you
     may be prosecuted for re-entry into the United States after deportation under
     Title 8, United States Code Section 1326? If convicted of re-entry or
     attempted re-entry into the United States, you may be imprisoned for up to
     (20)twenty-years and be fined up to $250,000(This may result in further
     detention after your deportation becomes final.)
      A. Yes,I understand now.

      Q. Did you understand the questions that were just asked to you?
      A. Yes.


      Q. Are there any corrections that you would like to make?
      A. No.


      Q. Is there anything else you would like to say at this time?
      A. No,I do not know my situation.

7.  HSI SA Bumanglag and HSI SA Feeley reviewed HERNANDEZ-
VILLALOBOS'statement with him and gave HERNANDEZ-VILLALOBOS the
opportunity to make any corrections or additions. HERNANDEZ-VILLALOBOS
did not have any questions, corrections, or additions to make to his sworn statement
and on October 9, 2018, HERNANDEZ-VILLALOBOS signed his statement.
Later that day, ERO officers transported HERNANDEZ-VILLALOBOS back to
the Honolulu FDC.
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                               Immigration History


8.      A review of HERNANDEZ-VILLALOBOS alien file number A## ### 563
revealed that HERNANDEZ-VILLALOBOS is a male citizen and national of
Mexico bom in 1965. On or around April 6, 2003, HERNANDEZ-VILLALOBOS
was encountered at or near Nogales, Arizona by Border Patrol Agents and was
processed under the name Armando HERNANDEZ-GONZALEZ. HERNANDEZ-
VILLALOBOS was given a voluntary departure back to Mexico.

9.    On or around August 31,2009, HERNANDEZ-VILLALOBOS applied for
admission into the United States from Mexico through the pedestrian primary lanes
ofthe San Ysidro Port of Entry by presenting a fraudulent DSP-150(B1/B2
Visa/Border Crossing Card), bearing a name different from HERNANDEZ-
VILLALOBOS. HERNANDEZ-VILLALOBOS was then referred for more
questioning and in a statement to Customs and Border Protection Officers(CBP),
HERNANDEZ-VILLALOBOS admitted that he was not the person as identified on
the Border Crossing Card, which had the name Jose Juan ENCINAS-DIAZ.
HERNANDEZ-VILLALOBOS was found inadmissible to the United States and
was given a Notice and Order of Expedited Removal(Form 1-860), which stated
that he was banned from entering the United States without permission for a five-
year period.

10.     On September 1,2009, CBP Officers verified HERNANDEZ-
VILLALOBOS'removal from the United States via foot to Mexico at or near San
Ysidro Port of Entry, California(Form 1-296).

11. On or around September 5,2009, HERNANDEZ-VILLALOBOS was
encoimtered attempting to enter the United States by Border Patrol Agents at or
near Campo, Califomia. On September 5, 2009, HERNANDEZ-VILLALOBOS
was given a voluntary departure.

12. On October 17, 2018,HSI Honolulu was provided with a Certificate of
Nonexistence of Record relating to file number A## ### 563,"Martin
HERNANDEZ-VILLALOBOS." The Nonexistence of Record states that after a
diligent search was performed in Citizenship and Immigration Services databases,
no record was found to exist indicating that the subject, HERNANDEZ-
VILLALOBOS,obtained consent to enter the United States from the Attomey
General ofthe United States or from the Secretary of the Department of Homeland
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Security, for re-admission in the United Stated in accordance with the 6 U.S.C. §§
202(3) and(4)and 557.

13. Based on the facts described above, and on my training and experience, I
submit that there is probable cause to arrest the defendant Martin HERNANDEZ-
VILLALOBOS,for violating Title 8, United States Code, Section 1326(a).

FURTHER AFFIANT SAYETH NAUGHT.




                                             Cory Hokama
                                             Special Agent
                                             Homeland Security Investigations




This Criminal Complaint and Agent's Affidavit in support thereof were presented to,
approved by, and probable cause to believe that the defendant above-named committed
the charged crime found to exist by the undersigned Judicial Officer at /V   .mron
October 17, 2018.

Subscribed and sworn to^^^^^^^^j^is 17th day
of October 2018, at




RICHARD L. PUG
UNITED STATES
DISTRICT OF HAW
